Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 1 of 20 PageID #: 231
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 2 of 20 PageID #: 232
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 3 of 20 PageID #: 233
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 4 of 20 PageID #: 234
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 5 of 20 PageID #: 235
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 6 of 20 PageID #: 236
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 7 of 20 PageID #: 237
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 8 of 20 PageID #: 238
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 9 of 20 PageID #: 239
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 10 of 20 PageID #: 240
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 11 of 20 PageID #: 241
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 12 of 20 PageID #: 242
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 13 of 20 PageID #: 243
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 14 of 20 PageID #: 244
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 15 of 20 PageID #: 245
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 16 of 20 PageID #: 246
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 17 of 20 PageID #: 247
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 18 of 20 PageID #: 248
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 19 of 20 PageID #: 249
Case 1:10-cr-00809-KAM   Document 162   Filed 02/11/11   Page 20 of 20 PageID #: 250
